                                                          Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 1 of 31



                                                 1     CLARKSON LAW FIRM, P.C.
                                                       Ryan J. Clarkson (SBN 257074)
                                                 2     rclarkson@clarksonlawfirm.com
                                                       Shireen M. Clarkson (SBN 237882)
                                                 3     sclarkson@clarksonlawfirm.com
                                                       Katherine A. Bruce (SBN 288694)
                                                 4     kbruce@clarksonlawfirm.com
                                                       Kelsey J. Elling (SBN: 337915)
                                                 5     kelling@clarksonlawfirm.com
                                                       22525 Pacific Coast Highway
                                                 6     Malibu, CA 90265
                                                       Tel: (213) 788-4050
                                                 7     Fax: (213) 788-4070
                                                 8     MOON LAW APC
                                                       Christopher D. Moon (SBN 246622)
                                                 9     chris@moonlawapc.com
                                                       Kevin O. Moon (SBN 246792)
                                                 10    kevin@moonlawapc.com
                                                       228 Hamilton Avenue, 3rd Floor
                                                 11    Palo Alto, California 94301
                                                       Tel: (415) 730-0387
                                                 12    Fax: (650) 618-0478
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13
                       Malibu, CA 90265




                                                       Attorneys for Plaintiff
                                                 14                                 UNITED STATES DISTRICT COURT
                                                 15                              NORTHERN DISTRICT OF CALIFORNIA
                                                 16
                                                      ELIZABETH MAISEL, individually and on        Case No. 3:21-cv-00413-TSH
                                                 17   behalf of all others similarly situated,     Case Filed: 1/15/2021
                                                                                                   FAC Filed: 3/24/2021
                                                 18                          Plaintiff,
                                                                                                   Assigned to United States Magistrate Judge
                                                 19          v.                                    Thomas S. Hixson for all purposes
                                                 20   S.C. JOHNSON & SON, INC., a Wisconsin        PLAINTIFF ELIZABETH MAISEL’S
                                                      Corporation,                                 MEMORANDUM OF POINTS AND
                                                 21                                                AUTHORITIES IN SUPPORT OF CLASS
                                                                             Defendant.            CERTIFICATION; APPOINTMENT OF
                                                 22                                                CLASS REPRESENTATIVE; AND
                                                                                                   APPOINTMENT OF CLASS COUNSEL
                                                 23
                                                                                                   Hearing Information:
                                                 24                                                Date: May 19, 2022
                                                                                                   Time: 10:00 a.m.
                                                 25                                                Courtroom: G-15th Floor
                                                                                                   Courthouse: San Francisco Courthouse
                                                 26                                                Video Conf.:
                                                                                                   https://www.cand.uscourts.gov/judges/hixson-
                                                 27                                                thomas-s-tsh/
                                                 28

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                            Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 2 of 31



                                                 1                                                      TABLE OF CONTENTS
                                                 2                                                                                                                                     Page No.
                                                 3    I.      INTRODUCTION .................................................................................................................. 1
                                                 4    II.     RELEVANT FACTS AND PROCEDURAL HISTORY ...................................................... 1
                                                 5            A.        The Uniform Product Labels ...................................................................................... 2
                                                 6            B.        Defendant Knows that Consumers Desire Plant-Based & Mineral Products ............. 3
                                                 7            C.        The Products’ False and Misleading Plant-Based & Mineral Representations .......... 6
                                                 8            D.        The Proposed Classes ................................................................................................. 8
                                                 9    III.    LEGAL STANDARD FOR CLASS CERTIFICATION ....................................................... 8
                                                 10   IV.     PLAINTIFF SATISFIES ALL REQUIREMENTS UNDER RULE 23 ................................ 9
                                                 11           A.        The Class Is Adequately Defined ............................................................................... 9
                                                 12           B.        The Rule 23(a) Criteria Are Satisfied ....................................................................... 10
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13                     1. Numerosity ......................................................................................................... 10
                       Malibu, CA 90265




                                                 14                     2. Commonality ...................................................................................................... 11
                                                 15                     3. Typicality ........................................................................................................... 16
                                                 16                     4. Adequate Representation.................................................................................... 18
                                                 17           C.        Plaintiff Satisfies the Requirements of Rule 23(b)(2)............................................... 19
                                                 18                     1. Plaintiff Has Article III Standing. ...................................................................... 19
                                                 19                     2. Plaintiff and the Class Complain of Standardized Uniform Conduct Applicable to
                                                 20                     the Entire Class. ........................................................................................................ 21
                                                 21                     3. Plaintiff Seeks Injunctive Relief that Would Benefit Each Class Member........ 22
                                                 22           D.        Rule 23(G) is Satisfied .............................................................................................. 23
                                                 23   V.      CONCLUSION ..................................................................................................................... 23
                                                 24
                                                 25
                                                 26
                                                 27
                                                 28

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -i-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                          Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 3 of 31



                                                 1                                                      TABLE OF AUTHORITIES
                                                 2    Cases .................................................................................................................................... Page No.
                                                 3    Alcantar v. Hobart Serv.,
                                                        800 F.3d 1047 (9th Cir. 2015) ...................................................................................................... 8
                                                 4
                                                      Amchem Products, Inc. v. Windsor,
                                                 5      521 U.S. 591, 117 S. Ct. 2231, 138 L. Ed. 2d 689 (1997) ...................................................... 8, 10
                                                 6    Amgen Inc. v. Connecticut Ret. Plans & Trust Funds,
                                                        568 U.S. 455, 133 S. Ct. 1184, 185 L. Ed. 2d 308 (2013) ...................................................... 8, 15
                                                 7
                                                      Armstrong v. Davis,
                                                 8      275 F.3d 849 (9th Cir. 2001) ...................................................................................................... 16
                                                 9    Astiana v. Kashi Co.,
                                                        291 F.R.D. 493 (S.D. Cal. 2013) ......................................................................................... passim
                                                 10
                                                      Bank of St. Helena v. Lilienthal-Brayton Co.,
                                                 11     89 Cal.App 258 (1928) ............................................................................................................... 15
                                                 12
                   22525 Pacific Coast Highway




                                                      Bates v. United Parcel Serv., Inc.,
CLARKSON LAW FIRM, P.C.




                                                        511 F.3d 974 (9th Cir. 2007) ...................................................................................................... 19
                                                 13
                       Malibu, CA 90265




                                                      Briseno v. ConAgra Foods, Inc.,
                                                 14     844 F.3d 1121 (9th Cir. 2017) ...................................................................................................... 9
                                                 15   Bruno v. Quten Research Inst., LLC,
                                                        280 F.R.D. 524 (C.D. Cal. 2011) ................................................................................................ 17
                                                 16
                                                      Cruz v. PacifiCare Health Sys., Inc.,
                                                 17     30 Cal.4th 303 (2003) ................................................................................................................. 22
                                                 18   Davidson v. Kimberly-Clark Corp.,
                                                        889 F.3d 956 (9th Cir. 2018) .......................................................................................... 19, 20, 21
                                                 19
                                                      Delarosa v. Boiron, Inc.,
                                                 20     275 F.R.D. 582 (C.D. Cal. 2011) ................................................................................................ 22
                                                 21   Ehret v. Uber Techs., Inc.,
                                                        148 F. Supp. 3d 884 (N.D. Cal. 2015) ........................................................................................ 14
                                                 22
                                                      Eisen v. Carlisle & Jacquelin,
                                                 23     417 U.S. 156, 94 S. Ct. 2140, 40 L. Ed. 2d 732 (1974) ................................................................ 8
                                                 24   Ellis v. Costco Wholesale Corp.,
                                                         657 F.3d 970 (9th Cir. 2011) ...................................................................................................... 18
                                                 25
                                                      Forcellati v. Hyland’s, Inc.,
                                                 26     No. CV 12-1983-GHK (MRWx),
                                                        2014 WL 1410264, 2014 U.S. Dist. LEXIS 50600 (C.D. Cal. Apr. 9, 2014) .................. 9, 10, 14
                                                 27
                                                      General Tel. Co. of the Southwest v. Falcon,
                                                 28     457 U.S. 147, 102 S. Ct. 2364, 1982 L. Ed. 2d 740 (1982) ........................................................ 16

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -ii-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                          Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 4 of 31



                                                      Gormly v. Dickinson,
                                                 1      178 Cal.App.2d 92 (1960) .......................................................................................................... 15
                                                 2    Guido v. L’Oreal, USA, Inc.,
                                                        284 F.R.D. 468 (C.D. Cal. 2012) ................................................................................................ 13
                                                 3
                                                      Guido v. L’Oreal, USA, Inc.,
                                                 4      Nos. CV 11-1067 CAS (JCx), CV 11-5465 CAS (JCx),
                                                        2012 WL 2458118, 2012 U.S. Dist. LEXIS 89376 (C.D. Cal. June 25, 2012) .......................... 13
                                                 5
                                                      Gulf Oil Co. v. Bernard,
                                                 6      452 U.S. 89, 101 S. Ct. 2193, 68 L. Ed. 2d 693 (1981) ................................................................ 8
                                                 7    Hadley v. Kellogg Sales Co.,
                                                        324 F. Supp. 3d 1084 (N.D. Cal. 2018) ................................................................................ 13, 14
                                                 8
                                                      Hanlon v. Chrysler Corp.,
                                                 9      150 F.3d 1011 (9th Cir. 1998) ........................................................................................ 11, 16, 18
                                                 10   Harris v. Palm Springs Alpine Estates, Inc.,
                                                        329 F.2d 909 (9th Cir. 1964) .................................................................................................. 8, 10
                                                 11
                                                      Hartless v. Clorox Co.,
                                                 12     273 F.R.D. 630 (S.D.Cal. 2011) ................................................................................................. 18
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13
                       Malibu, CA 90265




                                                      Hartless v. Clorox Co.,
                                                        473 Fed. Appx. 716 (9th Cir. 2012) ............................................................................................ 18
                                                 14
                                                      Hilsley v. Ocean Spray Cranberries, Inc.,
                                                 15     No. 17cv2335-GPC(MDD),
                                                        2018 WL 6300479, 2018 U.S. Dist. LEXIS 202679 (S.D. Cal. Nov. 29, 2018) .......................... 8
                                                 16
                                                      Hunter v. McKenzie,
                                                 17     197 Cal. 176 (1925) ..................................................................................................................... 15
                                                 18   In re Arris Cable Modem Consumer Litig.,
                                                          327 F.R.D. 334 (N.D. Cal. 2018) ............................................................................................... 16
                                                 19
                                                      In re ConAgra Foods, Inc.,
                                                 20      90 F. Supp. 3d 919 (C.D. Cal. 2015) ........................................................................................ 9, 14
                                                 21   In re Nat’l Western Life Ins. Deferred Annuities Litig.,
                                                         268 F.R.D. 652 (S.D. Cal. 2010) ................................................................................................ 15
                                                 22
                                                      In re Online DVD-Rental Antitrust Litig.,
                                                 23      779 F.3d 934 (9th Cir. 2015) ...................................................................................................... 18
                                                 24   In re TFT-LCD (Flat Panel) Antitrust Litig.,
                                                         267 F.R.D. 583 (N.D. Cal. 2010) ................................................................................................ 10
                                                 25
                                                      In re Tobacco II Cases,
                                                 26      46 Cal.4th 298 (2009) ................................................................................................................. 15
                                                 27   In re Vioxx Class Cases,
                                                         180 Cal.App.4th 116 (2009) ........................................................................................................ 15
                                                 28
                                                      Johns v. Bayer Corp.,
                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -iii-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                          Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 5 of 31



                                                         280 F.R.D. 551 (S.D. Cal. 2012) ................................................................................................ 17
                                                 1
                                                      Jordan v. Los Angeles County,
                                                 2      669 F.2d 1311 (9th Cir. 1982) .................................................................................................... 11
                                                 3    Kwikset Corp. v. Superior Court,
                                                        51 Cal.4th 310 (2011) ................................................................................................................. 16
                                                 4
                                                      Keegan v. American Honda Motor Co., Inc.,
                                                 5      284 F.R.D. 504 (C.D. Cal. 2012) ................................................................................................ 11
                                                 6    Lewis v. Robinson Ford Sales, Inc.,
                                                        156 Cal.App.4th 359 (2007) ....................................................................................................... 15
                                                 7
                                                      Lilly v. Jamba Juice Co.,
                                                 8       308 F.R.D. 231 (N.D. Cal. 2014) .......................................................................................... 10, 17
                                                 9    Maisel v. S.C. Johnson & Son, Inc.,
                                                       No. 21-CV-00413-TSH,
                                                 10    2021 WL 1788397, 2021 U.S. Dist. KEXIS 86203 (N.D. Cal. May 5, 2021) ........................... 20
                                                 11   Martin v. Monsanto Co.,
                                                       No. ED CV 16-2168-JFW (SPx),
                                                 12    2017 WL 1115167, 2017 U.S. Dist. LEXIS 135351 (C.D. Cal. Mar. 24, 2017) ........................ 17
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13
                       Malibu, CA 90265




                                                      Massachusetts Mutual Life Ins. Co. v. Superior Court,
                                                       97 Cal.App.4th 1282 (2002) ........................................................................................................ 14
                                                 14
                                                      Mathewson v. Naylor,
                                                 15    18 Cal.App.3d 741 (1937) .......................................................................................................... 15
                                                 16   Mazza v. American Honda Motor Co.,
                                                       666 F.3d 581 (9th Cir. 2012) ...................................................................................................... 19
                                                 17
                                                      Mier v. CVS Pharmacy,
                                                 18     No. SA CV 20-1979-DOC-(ADSx),
                                                        2021 WL 3468951, 2021 U.S. Dist. LEXIS 150423 (C.D. Cal. Apr. 29, 2021) ........................ 22
                                                 19
                                                      Mier v. CVS Pharmacy,
                                                 20     No. SA CV 20-01979-DOC-(ADS),
                                                        2021 WL 3468953, 2021 U.S. Dist. LEXIS 150424 (C.D. Cal. June 11, 2021) ........................ 22
                                                 21
                                                      Mueller v. Puritan’s Pride, Inc.,
                                                 22    No. 3:16-cv-06717-JD,
                                                        2021 WL 5494254, 2021 U.S. Dist. LEXIS 226103 (N.D. Cal. Nov. 23, 2021) ...................... 21
                                                 23
                                                      Mullins v. Premier Nutrition Corp.,
                                                 24    No. 13-cv-1271-RS,
                                                       2016 WL 1535057, 2016 U.S. Dist. LEXIS 51140 (N.D. Cal. Apr. 15, 2016) ............................ 15
                                                 25
                                                      Negrete v. Allianz Life Ins. Co. of North America,
                                                 26     238 F.R.D. 482 (C.D. Cal. 2006) ............................................................................................... 16
                                                 27   Occidental Land, Inc. v. Superior Court,
                                                        18 Cal.3d 355 (1976) .................................................................................................................. 15
                                                 28
                                                      Pettit v. Procter & Gamble Co.,
                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -iv-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                          Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 6 of 31



                                                         No. 15-cv-02150-RS,
                                                 1       2017 WL 3310692, 2017 U.S. Dist. LEXIS 122668 (N.D. Cal. Aug. 3, 2017) ........................... 14
                                                 2    Poulos v. Caesars World, Inc.,
                                                        379 F.3d 654 (9th Cir. 2004) ..................................................................................................... 16
                                                 3
                                                      Pulaski & Middleman, LLC v. Google, Inc.,
                                                 4      802 F.3d 979 (9th Cir. 2015) ...................................................................................................... 16
                                                 5    Stearns v. Ticketmaster Corp.,
                                                         655 F.3d 1013 (9th Cir. 2011) ...................................................................................................... 14
                                                 6
                                                      Rodriguez v. Hayes,
                                                 7      591 F.3d 1105 (9th Cir. 2010) .................................................................................................... 21
                                                 8    Roper v. Consurve, Inc.,
                                                        578 F.2d 1106 (5th Cir. 1978) .................................................................................................... 18
                                                 9
                                                      Simpson v. Fireman’s Fund Ins. Co.,
                                                 10     231 F.R.D. 391 (N.D. Cal. 2005) ................................................................................................ 17
                                                 11   Smith v. Keurig Green Mountain, Inc.,
                                                        No. 18-cv-06690-HSG,
                                                 12     2020 WL 5630051, 2020 U.S. Dist. LEXIS 172826 (N.D. Cal. Sept. 21, 2020) ....................... 22
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13
                       Malibu, CA 90265




                                                      Snarr v. Cento Fine Foods Inc.,
                                                        No. 19-cv-02627-HSG,
                                                 14     2019 WL 7050149, 2019 U.S. Dist. LEXIS 220063 (N.D. Cal. Dec. 23, 2019) ........................ 21
                                                 15   Thomas v. Hawkins,
                                                        96 Cal.App.3d 377 (1950) .......................................................................................................... 15
                                                 16
                                                      Tran v. Sioux Honey Ass’n, Coop.,
                                                 17     No. 8:17-cv-00110-JLS-SS,
                                                        2020 WL 905571, 2020 U.S. Dist. LEXIS 31421 (C.D. Cal. Feb. 24, 2020) ............................ 13
                                                 18
                                                      Testone v. Barlean’s Organic Oils, LLC,
                                                 19     No. 19-CV-169 JLS (BGS),
                                                        2021 WL 4438391, 2021 U.S. Dist. LEXIS 185896 (S.D. Cal. Sept. 28, 2021) ........................ 11
                                                 20
                                                      Vasquez v. Superior Court,
                                                 21     4 Cal.3d 800 (1971) .................................................................................................................... 15
                                                 22   Wal-Mart Stores, Inc. v. Dukes,
                                                       564 U.S. 338, 131 S. Ct. 2541, 180 L. Ed. Ed 374 (2011) ......................................... 9, 11, 16, 22
                                                 23
                                                      Walters v. Reno,
                                                 24    145 F.3d 1032 (9th Cir. 1998) .............................................................................................. 11, 21
                                                 25   Wolph v. Acer America Corp.,
                                                       272 F.R.D. 477 (N.D. Cal. 2011) .................................................................................................. 9
                                                 26
                                                      Zakaria v. Gerber Products Co.,
                                                 27     No. LA CV15-00200 JAK (Ex),
                                                        2016 WL 6662723, 2016 U.S. Dist. LEXIS 184861 (C.D. Cal. Mar. 23, 2016) ........................ 14
                                                 28

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -v-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                          Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 7 of 31



                                                      Federal Statutes
                                                 1
                                                      Fed. R. Civ. P. 23 ..................................................................................................................... passim
                                                 2
                                                 3    State Statutes
                                                 4    Cal. Bus. & Prof. Code §§17200, et seq. .................................................................................... 1, 12
                                                 5    Cal. Bus. & Prof. Code §§17500, et seq. .................................................................................... 1, 12
                                                 6    Cal. Civ. Code §§1750, et seq. .................................................................................................... 1, 12
                                                 7
                                                      Secondary Sources
                                                 8
                                                      12 Williston, Contracts (3d ed. 1970) ............................................................................................. 15
                                                 9
                                                      Rubenstein, Newberg on Class Actions § 3.05 (5th ed. 2011) ....................................................... 10
                                                 10
                                                 11
                                                 12
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13
                       Malibu, CA 90265




                                                 14
                                                 15
                                                 16
                                                 17
                                                 18
                                                 19
                                                 20
                                                 21
                                                 22
                                                 23
                                                 24
                                                 25
                                                 26
                                                 27
                                                 28

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -vi-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                            Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 8 of 31



                                                 1                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                 2     I.     INTRODUCTION
                                                 3            Plaintiff Elizabeth Maisel (“Plaintiff”) moves to certify this false advertising case as a Fed.
                                                 4    R. Civ. P. 23(b)(2) class action on behalf of all consumers who purchased Defendant S.C. Johnson
                                                 5    & Son, Inc.’s (“Defendant” and/or “SCJ”) ecover-brand cleaning products that contain the Plant-
                                                 6    Based & Mineral Representations (the “Products”). Defendant misleadingly labels its Products
                                                 7    with the following prominent misrepresentations: “Plant-based ingredients,” “With plant-based
                                                 8    ingredients,” and/or “With plant-based and mineral ingredients” (collectively, “Plant-Based &
                                                 9    Mineral Representations”). However, Defendant knows—and admits—each of the Products
                                                 10   contain synthetic, non-plant-based and non-mineral ingredients, rendering the labels false and
                                                 11   misleading. Defendant likewise knows—and admits—that the Plant-Based & Mineral
                                                 12   Representations are material to reasonable consumers in deciding whether to buy the Products. It
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   has been Defendant’s entire marketing and brand strategy to convince consumers that the Products
                       Malibu, CA 90265




                                                 14   are not only “natural,” but good for the environment and safe for their families. The challenged
                                                 15   representations are part and parcel to that strategy. Because Defendant treated all Class Members
                                                 16   alike, an injunction and corresponding declaratory relief to stop the continued false and deceptive
                                                 17   labeling of the Products are necessary to protect the Class from further harm. Accordingly, Plaintiff
                                                 18   respectfully requests that the Court grant certification, appoint her as a representative for the Class,
                                                 19   and appoint her counsel as counsel for the Class. 1
                                                 20   II.     RELEVANT FACTS AND PROCEDURAL HISTORY
                                                 21           Plaintiff filed her original Class Action Complaint on January 15, 2021 (ECF 1), and filed the
                                                 22   operative First Amended Complaint (“FAC”) on March 24, 2021 (ECF 16), to assert five causes of
                                                 23   action for: (1) violation of California's Unfair Competition Law, codified at Business and
                                                 24   Professions Code sections 17200, et seq. (“UCL”); (2) violation of California’s False Advertising
                                                 25   Law, codified at Business and Professions Code sections 17500, et seq. (“FAL”); (3) violation of
                                                 26   California’s Consumers Legal Remedies Act, codified at Civil Code sections 1750, et seq.
                                                 27   (“CLRA”); (4) Breach of Warranty; and (5) Unjust Enrichment.
                                                 28
                                                      1
                                                          The proposed Class is defined below. See, infra, § II, D.
                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -1-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                          Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 9 of 31



                                                 1          A.    The Uniform Product Labels
                                                 2          Defendant uniformly labeled its ecover-brand cleaning Products 2 with the false and
                                                 3    misleading Plant-Based & Mineral Representations. 3 Not only do the labels contain statements and
                                                 4    imagery expounding this purported product-feature, but Defendant used highly contrasting colors
                                                 5    and deliberately allocated a large portion of the Products’ labeling to grab the customers’ attention
                                                 6    and to impress upon them that the Products do not contain synthetic ingredients. Defendant did this
                                                 7    to achieve as much market share as possible in the billion-dollar natural-products industry.
                                                 8          As relevant here, Defendant reinforces the Plant-Based & Mineral Representations on each
                                                 9    Product’s front label with statements and images that emphasize the Products’ purportedly “natural”
                                                 10   attributes. For example, the Products’ front labels display images of plants, including flowers and
                                                 11   leaves, and use bold and eye-catching colors that starkly contrast with the background. In addition,
                                                 12   immediately underneath the trademarked ecover logo, appears the trademarked phrase “Get nature
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   on your side” in large green font. Ex. A [Labels] (emphasis added); Ex. D [Cert. Reg. Trademark—
                       Malibu, CA 90265




                                                 14   ecover]; Ex. E [Cert. Reg. Trademark—Get Nature]. Moreover, above the “e” and “c” in the brand
                                                 15   logo appears an image of a flower. Ex. A [Labels]. Each Product also displays an image of a leaf
                                                 16   above the Plant-Based & Mineral Representations, with a dotted line connecting the representation
                                                 17   and leaf. Id. These images and statements span the top one-fourth to one-third of the front labels’
                                                 18
                                                 19   2
                                                        The “Products” at issue are e-cover™ brand: (1) All Purpose Cleaner; (2) Cream Scrub; (3)
                                                      Delicate Wash; (4) Dishwasher Powder; (5) Dishwasher Tablets; (6) Dishwasher Tablets Zero; (7)
                                                 20   Fabric Softener (Morning Fresh); (8) Fabric Softener (Sunny Day); (9) Floor Soap; (10) Laundry
                                                      Detergent (Alpine Mint); (11) Laundry Detergent (Lavender Field); (12) Rinse Aid; (13) Stain
                                                 21   Remover; and (14) Toilet Cleaner.
                                                      3
                                                        See Ex. A [Labels], at Ex. A(1) All Purpose, A(3) Delicate Wash, A(9) Floor Soap, A(12) Rinse
                                                 22   Aid, A(14) Toilet Cleaner (“Plant-based ingredients”) (emphasis added); id. at Ex. A(10) Laundry
                                                      Detergent—Alpine Mint, A(11) Laundry Detergent—Lavender Field (“With plant-based
                                                 23   ingredients”) (emphasis added); id. at Ex. A(2) Cream Scrub, A(4) Dishwasher Powder, A(5)
                                                      Dishwasher Tablet, A(6) Dishwasher Tablet-Zero, A(7) Fabric Softener—Morning Fresh, A(8)
                                                 24   Fabric Softener—Sunny Day, A(13) Stain Remover (“With plant-based & mineral ingredients”)
                                                      (emphasis added); Ex. C [SCJ Resp. ROG], ROG 1 (identifying labels used on pleaded Products
                                                 25   throughout Class Period); Ex. B [SCJ Resp. Doc. Req.], RFP 18 (same); see also SCJ's Req. Judicial
                                                      Notice, ECF 20, at Ex. A-E (seeking judicial notice of Fabric Softener—Morning Fresh, Fabric
                                                 26   Softener—Sunny Day, Stain Remover, Toilet Cleaner, and Laundry Detergent—Lavender Field,
                                                      identical in all pertinent respects to Exhibit A(7), A(8), A(13), A(14), and A(11)); SCJ’s Answer to
                                                 27   FAC, ECF 30, ¶¶ 18-31 (admitting FAC, containing labels identical to Exhibit A, were used on the
                                                      Products); id. ¶¶ 1, 16 (admitting Plant-Based & Mineral Representations appeared on the Products
                                                 28   labels); Order on MTD, ECF 29, § III. (granting SCJ’s request for judicial notice of said labels under
                                                      Fed. R. Evid. 201(b)).
                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -2-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                          Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 10 of 31



                                                 1    primary display panels. Id.
                                                 2          The Products’ back labels likewise reinforce the Plant-Based & Mineral Representations to
                                                 3    assure consumers that they are made only from plant or mineral ingredients. Ex. A [Labels].
                                                 4    Approximately half of each back label is dedicated to brand identity, a statement emphasizing that
                                                 5    natural or plant-based ingredients are beneficial to the environment, and a recitation of the
                                                 6    prominent front labeling claims. Id. [Labels]. At the top, there appears the same trademarked flower.
                                                 7    Id. [Labels]. Immediately underneath, Defendant extolls its alleged environmentally friendly natural
                                                 8    products, stating: “At Ecover we have been pioneering green science for over 30 [or 35] years to
                                                 9    make effective[,] plant-based cleaners by plant-loving people.” 4 Immediately under Defendant’s
                                                 10   mission statement, Defendant repeats the same Plant-Based & Mineral Representation, with the
                                                 11   same vivid colors and imagery. See, e.g., id. at Ex. A(5) [Dishwasher Tablets] (“Made using
                                                 12   renewable plant-based & mineral ingredients.”). The only other information provided on the back
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   labels comprises directions for use, ingredients described in largely hyper-technical chemical
                       Malibu, CA 90265




                                                 14   names, health and safety warnings, a bar code, and identification of the manufacturer. Id. [Labels].
                                                 15          B.   Defendant Knows that Consumers Desire Plant-Based & Mineral Products
                                                 16         Defendant dedicates more than half of the Products’ front and back labels to convey a singular,
                                                 17   critical message to consumers: ecover cleaning products are made only from natural, plant and/or
                                                 18   mineral ingredients, which are safe, earth-friendly, and good for the environment. Ex. A [Labels].
                                                 19   Defendant’s websites for ecover cleaning products as well as its general website expressly recognize
                                                 20   that consumers desire these types of cleaning products. For example, immediately prior to the
                                                 21   initiation of this litigation, Defendant maintained a robust ecover website under the domain name
                                                 22
                                                 23   4
                                                        See, e.g., id. [Labels] at Ex. A(1) [All Purpose, SCJ 17 (2015)], Ex. A(3) [Delicate Wash, SCJ 19
                                                      (2015)], Ex. A(4) [Dishwasher Powder, SCJ 21 (2021)], Ex. A(5) [Dishwasher Tablets, SCJ 26
                                                 24   (2020), SCJ 24 (2021)]; Ex. A(6) [Dishwasher Tablets—Zero, SCJ 23 (2020), SCJ 25 (2020)], Ex.
                                                      A(7) [Fabric Softener—Morning Fresh, SCJ 28 (2016), SCJ 29 (2020)], Ex. A(8) [Fabric Softener—
                                                 25   Sunny Day, SCJ 30 (2015)], Ex. A(9) [Floor Soap, SCJ 34 (2014)], Ex. A(11) [Laundry Detergent—
                                                      Lavender Field, SCJ 36 (2020), SCJ 39 (2020)], Ex. A(14) [Toilet Cleaner, SCJ 42 (2016), SCJ 43
                                                 26   (2020)] (emphasis added); see also id. at Ex. A(2) [Cream Scrub, SCJ 18 (2014)], Ex. A(12) [Rinse
                                                      Aid, SCJ 37 (2014)] (omits “by plant-loving people”); accord Ex. A(12) [Rinse Aid, SCJ 38 (2019)]
                                                 27   (modified to “. . . to make effective products with biodegradable plant-based ingredients.”); see also
                                                      Ex. A(10) [Laundry Detergent—Alpine Mint, SCJ 35 (2014)] ( modified to “. . . to make effective,
                                                 28   plant-based cleaners that are good for the planet and the people on it. Now the trees might hug
                                                      you back.” (emphasis added)).
                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -3-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 11 of 31



                                                 1    “www.us.ecover.com.” Although Defendant has stripped it down since the filing of this action, the
                                                 2    archived webpages reveal and corroborate Defendant’s marketing and brand strategy.
                                                 3          As recently as January 2021, Defendant’s ecover website heavily, if not entirely, focused on
                                                 4    the natural plant and mineral ingredients in its cleaning product line as eco-friendly. Its homepage
                                                 5    contained the prominent headline: “A CLEANER CLEAN, INSPIRED BY THE WORLD’S
                                                 6    GREATEST SCIENTIST, NATURE.” Ex. M [Ecover Archived Website] at p. 1 [Homepage]. The
                                                 7    subheadings that follow buttress Defendant’s ecover brand strategy, including prominent statements
                                                 8    like: “IT’S TIME TO GET NATURE ON YOUR SIDE,” and “SCIENCE INSPIRED BY
                                                 9    NATURE.” Id. Additionally, the Science Inspired by Nature webpage evidences Defendant’s
                                                 10   recognition that consumers care, not just about the source of ingredients, but how companies subject
                                                 11   raw, natural, plant and mineral materials to substantial chemical processing that fundamentally
                                                 12   changes its character, eliminating their environmental benefits. Id. at pp. 3 [Inspired Nature
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   Webpage]. Similarly, Defendant’s mission statement furthers its marketing campaign to greenwash
                       Malibu, CA 90265




                                                 14   products as “natural,” containing only plant-based and mineral ingredients, because consumers want
                                                 15   safe and environmentally friendly products: “Our goal is to create powerful cleaning products that
                                                 16   won’t harm the planet or the people in it.” Id. at pp. 5 [Our Mission Webpage]. Defendant
                                                 17   emphasizes: “We are protectors of the planet and scientists with a conscience . . . We know nature
                                                 18   provides us with plenty of powerful ingredients [a]nd toxins never make anything better.” (id. at p.
                                                 19   5 [Our Mission—Beliefs]); “So we look to bees for inspiration and plants for innovation [a]nd create
                                                 20   our fragrances with butterflies in mind . . . .” (id. at p. 7 [Our Mission—Inspiration]); and “We
                                                 21   consider cleaning our chance to make the world a better place [a]nd believe green should be a natural
                                                 22   way of life . . . .” (id. at p. 9 [Our Mission—Purpose]).
                                                 23         The thrust of Defendant’s marketing strategy also falls directly in line with its corporate
                                                 24   marketing strategy exemplified on its current website under the “www.scjohnson.com” domain
                                                 25   name. Defendant posts a substantial amount of content regarding environmentalism and importance
                                                 26   of transparency to consumers, including a few noteworthy examples. Id. Defendant touts the
                                                 27   company’s core values over the course of multiple generations, including the past half-century in a
                                                 28   document known as “This We Believe” that serves as a guide or set of principles for the company

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -4-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 12 of 31



                                                 1    to follow. Ex. N [SCJ Website] at pp. 1-8. In it, Defendant stresses its responsibility to consumers,
                                                 2    committing itself to providing “useful products” by “[m]onitoring closely the changing wants of
                                                 3    consumers and users,” “[d]eveloping new products . . . that are recognized by consumers and users
                                                 4    as being significantly superior overall to major competition,” and, in particular, “[d]evelop[ing] and
                                                 5    market[ing] products that are environmentally sound and do not endanger the health and safety of
                                                 6    consumers and users.” Id. at pp. 2-3.
                                                 7          Consistent with its mission statement, Defendant discusses the importance of transparency to
                                                 8    consumers and their families regarding the ingredients in Defendant’s cleaning products: “Most
                                                 9    people agree companies should tell the truth when asked about their products. . . . We understand
                                                 10   you want to feel good about the things you use around the people and pets you love.” Ex. N [SCJ
                                                 11   Website] at p. 9 [Global Transparency] (emphasis added). Indeed, Defendant posts a video
                                                 12   interviewing various representative consumers in 2018, regarding the importance of knowing what
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   ingredients are in their products before deciding to use them. Id.; Ex. O [Consumer Interview
                       Malibu, CA 90265




                                                 14   Video]. Defendant admits the importance of honest ingredient disclosures: “SC Johnson considers
                                                 15   it important to disclose ingredients. . . . so [consumers] can make choices that are best for them and
                                                 16   their families” Ex. N [SCJ Website] at p. 11 [Industry Transparency].
                                                 17         Indeed, Defendant admits that consumers want natural products because they believe they are
                                                 18   safer, healthier, and more environmentally friendly than synthetic products, the core tenants which
                                                 19   Defendant admits drive consumers to buy household cleaning products: “you’d be surprised how
                                                 20   often we hear from people saying they want household products that are ‘chemical-free’.” Ex. N
                                                 21   [SCJ Website].at pp. 15 [Negative Perceptions Synthetic Chemicals] (emphasis added). Defendant
                                                 22   further states: “Many people assume that natural chemicals are better than synthetic chemicals.
                                                 23   And, unfortunately, claiming ‘natural’ as a product benefit has become a bit of a marketing
                                                 24   trend.” Id. (emphasis added). Defendant’s Chairman and Chief Executive Officer explains:
                                                 25         You know I often wonder, what do you look at when you’re buying the products you
                                                            use in your home. A lot of companies claim that their products are natural. . . . As a
                                                 26         father and a scientist, I want to know that the ingredients that go into our products are
                                                            safe for my family and safe for yours. . . . . That’s why we at SC Johnson go beyond
                                                 27         industry standards and continuously look at every ingredient we use . . . .
                                                 28   Ex. P [Fisk Video]; Ex. N [SCJ Website].at pp. 15 [Negative Perceptions Synthetic Chemicals].

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -5-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                          Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 13 of 31



                                                 1            Yet, Defendant’s words ring hollow and merely exemplify the significant “greenwashing”
                                                 2    problem plaguing consumer products. It is for these very reasons that the United States Federal
                                                 3    Trade Commission (“FTC”) created the “Green Guides” to help companies avoid making
                                                 4    misleading and deceptive claims. 5 Relevant here, the FTC states: “Marketers, nevertheless, are
                                                 5    responsible for substantiating consumers’ reasonable understanding of “biobased,” and other similar
                                                 6    claims, such as “plant-based,” in the context of their advertisements. 6 The FTC recognized the
                                                 7    importance of eco-friendly marketing claims to consumers and how companies mislead consumers
                                                 8    into buying their products by “greenwashing” them with false or misleading promises. Id.
                                                 9           C.   The Products’ False and Misleading Plant-Based & Mineral Representations
                                                 10        Contrary to the express representations on the Products’ front panel, the Products contain
                                                 11   numerous ingredients that do not come from plants or minerals whatsoever. See FAC, ECF 16,
                                                 12   ¶¶ 2, 3, 14. In fact, Defendant admits that over sixty-three (63) ingredients in the Products are
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   entirely “synthetic.” Bruce Decl. ¶ 2, i; Ex. I [Summary Formulations and Admitted Synthetics];
                       Malibu, CA 90265




                                                 14   Ex. F [Archived Online Ingredient Disclosures]; Ex. G [Archived Online Ingredient Glossary]; Ex.
                                                 15   H [Formulation SCJ 3-16]. 7 In fact, each and every Product contains one or more ingredients that
                                                 16
                                                      5
                                                        See generally 16 C.F.R. § 260 – Guides for the Use of Environmental Marketing Claims, available
                                                 17   at        https://www.ftc.gov/sites/default/files/attachments/press-releases/ftc-issues-revised-green-
                                                      guides/greenguidesstatement.pdf (accessed 12/19/2021).
                                                 18   6
                                                        Id. at p. 246 (emphasis added).
                                                      7
                                                        Specifically, Defendant admitted on its official ecover website the following ingredients contained
                                                 19   in the Products, in varying combinations, are entirely “synthetic”: (1) 2,6-dimethyl-7-octen-2-ol;
                                                      and (2) 2-phenytelhaneol; (3) ACTICIDE MBS; (4) alpha-hexylcinnamaldehyde; (5) alphaterpineal
                                                 20   acetate; (6) benzisothiazolinone; (7) benzylisothiazolinone; (8) benzyl acetate; (9) benzyl alcohol;
                                                      (10) benzyl benzoate; (11) beta-caryophyllene; (12) betapinene; (13) camphene; (14) citral; (15)
                                                 21   citronellal; (16) citronellol; (17) dihydromyrcenol; (18) disubstituted alaninamide; (19) ethoxylated
                                                      propxylated C12-C14 alcohol; (20) eucatyptol; (21) eugenol; (22) farnesol; (23) fragrance; (24)
                                                 22   gammaterpinene; (25) genapol 26 EP 710***; (26) genapol LA 060*; (27) geraniol; (28) glyoxal;
                                                      (29) green gardenia 5 T12017042; (30) hexyl salicylate; (31) isoeugenol; (32) isopropanol; (32)
                                                 23   isopropyl alcohol; (34) lavandin extract; (35) limonene; (36) linalool; (37)
                                                      methylchloroisothiazolinone; (38) methylisothiazolinone; (39) myrcene; (40) nopyl acetate; (41)
                                                 24   orange extract; (42) oxacyclohexadecen-2-one; (43) perfume jasmine & apple blossom
                                                      4T11006660; (44) perfume lemonndarine BN EAG14940/00; (45) perfume natural carrera
                                                 25   SC136205; (46) pine extract; (47) pinene; (48) polyethylene glycol; (49) polyoxyethylene
                                                      trimethyldecyl alcohol; (50) preservative MIT/BIT; (51) preservative phenoxyethanol; (52)
                                                 26   propylene glycol; (53) rosemary extract; (54) sodium diglycolate; (55) sodium formate; (56) sodium
                                                      glycolate; (57) TAED; (58) terpineol; (59) tetrasodium edta; (60) tricyclodecenyl propionate; (61)
                                                 27   undecane-4-olide; (62) verdyl acetate; (63) x perfume flordalia SL 137886(!). See Ex. I [Summary
                                                      Spreadsheet] (green highlights). At some point during the pendency of this litigation, Defendant
                                                 28   removed these admissions from its website. Compare www.us.ecover.com (accessed 12/19/2021)

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -6-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 14 of 31



                                                 1    Defendant admits are synthetic. Ex. I [Summary].
                                                 2           In addition, the Products contain numerous ingredients that have been subjected to chemical
                                                 3    modification or processing, which materially altered the ingredients’ original plant-based or mineral
                                                 4    composition. See FAC, ECF 16, ¶¶ 3, 33-47. Put differently, to create certain ingredients used in
                                                 5    the Products, mineral or plant-sourced ingredients, like coconut or palm oil, are used. But these
                                                 6    ingredients are then subjected to substantial chemical modification and/or processing such that the
                                                 7    resulting ingredient used in the finished Products is an entirely new, synthetically created
                                                 8    ingredient—one that is vastly and fundamentally different than the original plant-sourced
                                                 9    ingredient. Id. 8
                                                 10         Accordingly, the Plant-Based & Mineral Representations are false, misleading, and deceptive,
                                                 11   and therefore unlawful. Defendant knew or should have known that the Representations are false.
                                                 12   Further, the Plant-Based & Mineral Representations are material to reasonable consumers. Market
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   research demonstrates that, in recent years, consumers have come to value natural products for
                       Malibu, CA 90265




                                                 14   numerous reasons, including perceived benefits of avoiding diseases, attaining health and wellness,
                                                 15   and reducing human impact on the environment. FAC, ECF 16, ¶ 11; see also Ex. M-P [Def.’s
                                                 16   Websites & Videos]. It is for these reasons that Plaintiff seeks certification of this action as a class
                                                 17   to succeed in its primary litigation objective to stop the ongoing consumer deception.
                                                 18
                                                 19
                                                      with Ex. F [Archived Ingredient Disclosures] and Ex. G [Archived Ingredient Glossary]. To be
                                                 20   sure, Defendant had Plaintiff’s demand to preserve evidence and notice of this lawsuit before
                                                      destroying this evidence, or at least the public’s access to it. Compl., ECF 1; FAC, ECF 16, at Ex.
                                                 21   1 [Demand Letter] at pp. 9-11; id. at ¶ 127; SCJ Ans. FAC, ECF 30, ¶ 127.
                                                      8
                                                        The following ingredients in the Products are subject to substantial chemical modification or
                                                 22   processing: (1) amylase; (2) caprylyl/capryl glucoside; (3) caprylyl/decyl glucoside; (4)
                                                      carboxymethylinulim; (5) citric acid; (6) citric acid solution; (7) coco-glucoside; (8) C 12-16 pareth-
                                                 23   7; (9) decyl glucoside; (10) decyl/myristyl glucoside; (11) fatty alcohol alkoxylate; (12) fragrance;
                                                      (13) glycerin; (14) lactic acid; (15) lauryl ethoxylate; (16) lauryl glucoside; (17) lauryl/myristyl
                                                 24   glucoside; (18) linalool; (19) lipase; (20) oleic acid; (21) p-anisic acid; (22) potassium cocoate; (23)
                                                      potassium oleate; (24) protease; (25) sodium citrate; (26) sodium gluconate; (27) sodium laureth
                                                 25   sulfate; (28) sodium lauryl sulfate; (29) sodium polyaspartate; (30) sodium polyitaconate; (31)
                                                      sophorolipids; (32) subtilisin; and (33) xanthan gum. See FAC, ECF 16, ¶¶ 33-47. Class-wide
                                                 26   merits-evidence, either from Defendant or through subpoenas to Defendant’s suppliers, regarding
                                                      the processing of sourced ingredients will further demonstrate additional synthetic ingredients that
                                                 27   reasonable consumers would not expect to find in the Products based on the Plant-Based & Mineral
                                                      Representations and Defendant’s entire brand and marketing strategy. Indeed, Defendant lauds its
                                                 28   commitment to the vigorous analysis of each and every ingredient incorporated into its products by
                                                      experts in the industry. Ex. N [SCJ Website] at p. 13 [Industry Transparency].
                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -7-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 15 of 31



                                                 1            D.     The Proposed Classes
                                                 2           Plaintiff moves to certify the following Class as follows:
                                                 3                    National Class. All residents of the United States who, within the applicable statute
                                                                      of limitations periods, purchased the Products (“Nationwide Class”); and
                                                 4
                                                                      California Class. All residents of California who, within four years prior to the filing
                                                 5                    of the Complaint, purchased the Products, for personal and household use and not for
                                                                      resale (“California Subclass”).
                                                 6
                                                 7    See FAC, ECF 16, ¶ 55.
                                                 8    III.    LEGAL STANDARD FOR CLASS CERTIFICATION
                                                 9            The Court’s decision to grant class certification lies within its sound discretion. Gulf Oil Co.
                                                 10   v. Bernard, 452 U.S. 89, 100 (1981). “In determining the propriety of a class action the question is
                                                 11   not whether the plaintiff or plaintiffs have stated a cause of action or will prevail on the merits, but
                                                 12   rather whether the requirements of Rule 23 are met.” Eisen v. Carlisle & Jacquelin, 417 U.S. 156,
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   178 (1974) (citations omitted). “Rule 23 grants courts no license to engage in free-ranging merits
                       Malibu, CA 90265




                                                 14   inquiries at the certification stage. Merits questions may be considered to the extent—but only to
                                                 15   the extent—that they are relevant to determining whether the Rule 23 prerequisites for class
                                                 16   certification are satisfied.” Amgen Inc. v. Connecticut Ret. Plans & Trust Funds, 568 U.S. 455, 465-
                                                 17   466 (2013); see also Alcantar v. Hobart Serv., 800 F.3d 1047, 1053 (9th Cir. 2015) (“We conclude
                                                 18   that the district court erred in denying class certification because it evaluated the merits rather than
                                                 19   focusing on whether the questions presented—meritorious or not—were common to the class.”);
                                                 20   Hilsley v. Ocean Spray Cranberries, Inc., No. 17cv2335-GPC(MDD), 2018 WL 6300479, at *10
                                                 21   (S.D. Cal. Nov. 29, 2018) (“merit questions are not appropriate at the class certification stage.”)
                                                 22   (citing Amgen Inc., 568 U.S. at 459.
                                                 23           Consumer protection claims are ideal for class certification and any doubt as to the propriety
                                                 24   of certification should be resolved in favor of certification. Amchem Prods., Inc. v. Windsor, 521
                                                 25   U.S. 591 (1997); Harris v. Palm Springs Alpine Estates, Inc., 329 F.2d 909, 913 (9th Cir. 1964).
                                                 26   The class action mechanism allows consumers who “individually would be without effective
                                                 27   strength to bring their opponents into court at all” to pursue their claims. Amchem Prods., Inc, 521
                                                 28   U.S. at 617.

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -8-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 16 of 31



                                                 1          To obtain certification, a plaintiff must satisfy the four threshold requirements of Rule 23(a).
                                                 2    Specifically, the plaintiff must demonstrate that: (1) the class is so numerous that joinder of all
                                                 3    members is impracticable; (2) there are questions of law or fact common to the class; (3) the claims
                                                 4    or defenses of the representative parties are typical of the claims or defenses of the class; and (4)
                                                 5    the representative parties will fairly and adequately protect the interests of the class. See Fed. R.
                                                 6    Civ. P. 23(a); Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 345-346 (2011). Additionally, the
                                                 7    plaintiff must also satisfy one of the conditions of Rule 23(b). See Fed. R. Civ. P. 23. As relevant
                                                 8    here, Rule 23(b)(2) authorizes class certification where “the party opposing the class has acted or
                                                 9    refused to act on grounds that apply generally to the class, so that final injunctive relief or
                                                 10   corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.
                                                 11   23(b)(2).
                                                 12   IV.   PLAINTIFF SATISFIES ALL REQUIREMENTS UNDER RULE 23
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13         A.    The Class Is Adequately Defined
                       Malibu, CA 90265




                                                 14         There is no express ascertainability requirement under Ninth Circuit law. Briseno v. ConAgra
                                                 15   Foods, Inc., 844 F.3d 1121, 1124, n.4 (9th Cir. 2017). Nevertheless, a class must be adequately
                                                 16   defined. Wolph v. Acer Am. Corp., 272 F.R.D. 477, 482 (N.D. Cal. 2011) (“The class definition
                                                 17   must be sufficiently definite so that it is administratively feasible to determine whether a particular
                                                 18   person is a class member.”) (citation omitted). A class is adequately defined where objective criteria
                                                 19   can be applied to determine eligibility as a class member. See, e.g., Forcellati v. Hyland’s, Inc., No.
                                                 20   CV 12-1983-GHK (MRWx), 2014 WL 1410264, at *5 (C.D. Cal. Apr. 9, 2014). Here, the Class is
                                                 21   well-defined as follows:
                                                 22                 All residents of the United States who, within the applicable statute of
                                                                    limitations periods, purchased the Products (“Nationwide Class”); and
                                                 23
                                                                    All residents of California who, within four years prior to the filing of the
                                                 24                 Complaint, purchased the Products (“California Subclass”).
                                                 25   FAC, ECF 16, ¶ 117.
                                                 26         The class is objectively and sufficiently definite. It “identifies purchasers of Defendant’s
                                                 27   products that included the allegedly material misrepresentations. Because the alleged
                                                 28   misrepresentations appeared on the actual packages of the products purchased, there is no concern

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH      -9-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 17 of 31



                                                 1    that the class includes individuals who were not exposed to the misrepresentation.” Astiana v. Kashi
                                                 2    Co., 291 F.R.D. 493, 500 (S.D. Cal. 2013); Forcellati, 2014 WL 1410264, at *5 (“Here, Plaintiffs
                                                 3    have precisely defined their class based on an objective criterion: purchase of Defendants’ children’s
                                                 4    cold or flu products within a prescribed time frame. This is enough to satisfy Rule 23(a)’s implied
                                                 5    ascertainability requirement.”).
                                                 6          Furthermore, “[t]here is no requirement that ‘the identity of the class members . . . be known
                                                 7    at the time of certification.’” Astiana, 291 F.R.D. at 500 (citations omitted). “As long as the class
                                                 8    definition is sufficiently definite to identify putative class members, ‘[t]he challenges entailed in the
                                                 9    administration of this class are not so burdensome as to defeat certification.’” Id.; see also In re
                                                 10   TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 583, 592 (N.D. Cal. 2010) (“The fact that class
                                                 11   members will be required to submit some information in order to determine whether they are
                                                 12   members of the class does not render the class definition unascertainable.”); Lilly v. Jamba Juice
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   Co., 308 F.R.D. 231, 238 (N.D. Cal. 2014) (“Few people retain receipts for low-priced goods, since
                       Malibu, CA 90265




                                                 14   there is little possibility they will need to later verify that they made the purchase. Yet it is precisely
                                                 15   in circumstances like these, where the injury to any individual consumer is small, but the cumulative
                                                 16   injury to consumers as a group is substantial, that the class action mechanism provides one of its
                                                 17   most important social benefits. In the absence of a class action, the injury would go unredressed.”);
                                                 18   Forcellati, 2014 WL 1410264, at *5 (finding purchase records or identification of class members
                                                 19   by the defendant to be unnecessary for certification because “facilitating small claims is ‘[t]he policy
                                                 20   at the very core of the class action mechanism’”) (citing Amchem Prods., Inc., 521 U.S. at 617).
                                                 21         B.       The Rule 23(a) Criteria Are Satisfied
                                                 22                  1.      Numerosity
                                                 23         Rule 23(a)(1) is satisfied if “the class is so numerous that joinder of all members is
                                                 24   impracticable.” Fed. R. Civ. P. 23(a)(1); Harris, 329 F.2d at 913-914. “Impracticability does not
                                                 25   mean impossibility,” but rather asks the court to assess the difficulty or inconvenience of joining all
                                                 26   members of the class. Harris, 329 F.2d at 913-914 (citation omitted). While there is no set numerical
                                                 27   cutoff to determine whether a class is numerous, courts have consistently held that joinder is
                                                 28   impracticable where the class is composed of more than 40 persons. See William Rubenstein, et al.,

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -10-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 18 of 31



                                                 1    Newberg on Class Actions, §3.05 (5th ed. 2011); Keegan v. Am. Honda Motor Co., Inc., 284 F.R.D.
                                                 2    504, 522 (C.D. Cal. 2012) (noting that “[a]s a general rule . . . classes of 40 or more are numerous
                                                 3    enough.”). Here, numerosity is satisfied because there were at least hundreds of thousands (if not
                                                 4    millions) of purchasers of the Products during the class period. Defendant estimates that gross sales
                                                 5    for the Products, from January 15, 2017 to October 2021, exceed millions of units. Ex. J [Sales
                                                 6    Data]; Ex. 2 [SCJ Resp RFP] at No. 50; Ex. 3 [SCJ Resp ROG] at No. 3. Thus, the Class is
                                                 7    sufficiently numerous.
                                                 8                  2.        Commonality
                                                 9          The commonality requirement serves chiefly two purposes: (1) ensuring that absentee
                                                 10   members are fairly and adequately represented; and (2) ensuring practical and efficient case
                                                 11   management.” Walters v. Reno, 145 F.3d 1032, 1045 (9th Cir. 1998). Rule 23 (a)(2) requires the
                                                 12   existence of “questions of law or fact common to the class,” and is construed liberally and
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   permissively. Rule 23(a)(2); Jordan v. Los Angeles County, 669 F.2d 1311, 1320 (9th Cir. 1982).
                       Malibu, CA 90265




                                                 14   The class’s “claims must depend upon a common contention . . . [and] . . . must be of such a nature
                                                 15   that it is capable of classwide resolution—which means that determination of its truth or falsity will
                                                 16   resolve an issue that is central to the validity of each one of the claims in one stroke.” Wal-Mart
                                                 17   Stores, Inc., 564 U.S. at 350. As the Ninth Circuit noted: “All questions of fact and law need not be
                                                 18   common to satisfy the rule. The existence of shared legal issues with divergent factual predicates is
                                                 19   sufficient, as is a common core of salient facts coupled with disparate legal remedies within the
                                                 20   class.” Hanlon
                                                 21         v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998), overruled on other grounds by Wal-
                                                 22   Mart Stores, Inc., 564 U.S. at 338). “[F]or purposes of Rule 23(a)(2) ‘[e]ven a single [common]
                                                 23   question’ will do.” Wal-Mart Stores, Inc., 564 U.S. at 350. Furthermore, “variation among class
                                                 24   members in their motivation for purchasing the product, the factual circumstances behind their
                                                 25   purchase, or the price that they paid does not defeat the relatively ‘minimal’ showing required to
                                                 26   establish commonality.” Astiana, 291 F.R.D. at 502 (citation omitted). In fact, “it is an error of law
                                                 27   for   a   court    to   inquire   into   the   motives   of   each   individual   class   member    at
                                                 28   the class certification stage.” Testone v. Barlean's Organic Oils, LLC, No. 19-CV-169 JLS (BGS),

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -11-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 19 of 31



                                                 1    2021 WL 4438391, at *4 (S.D. Cal. Sept. 28, 2021).
                                                 2          Importantly, “[i]n misbranding or false advertising cases, courts routinely find that
                                                 3    commonality has been satisfied.” Hilsley, 2018 WL 6300479, at *4 (citing cases). Plaintiff sets forth
                                                 4    numerous common questions in her FAC, including:
                                                 5          (1)     Whether Defendant’s conduct constitutes an unfair method of competition, or unfair
                                                                    or deceptive act or practice, in violation of Civil Code Section 1750, et seq.;
                                                 6
                                                            (2)     Whether Defendant used deceptive representations in connection with the sale of the
                                                 7                  Products in violation of Civil Code Section 1750, et seq.;
                                                 8          (3)     Whether Defendant represented that the Products have characteristics or quantities
                                                                    that they do not have in violation of Civil Code Section 1750, et seq.;
                                                 9
                                                            (4)     Whether Defendant advertised the Products with intent not to sell them as advertised
                                                 10                 in violation of Civil Code Section 1750, et seq.;
                                                 11         (5)     Whether Defendant’s labeling and advertising of the Products are untrue or
                                                                    misleading in violation of Business and Professions Code Section 17500, et seq.;
                                                 12
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                            (6)     Whether Defendant knew or by the exercise of reasonable care should have known its
                                                 13
                       Malibu, CA 90265




                                                                    labeling and advertising was and is untrue or misleading in violation of Business and
                                                                    Professions Code Section 17500, et seq.;
                                                 14
                                                            (7)     Whether Defendant’s conduct is an unfair business practice within the meaning of
                                                 15                 Business and Professions Code Section 17200, et seq.;
                                                 16         (8)     Whether Defendant’s conduct is a fraudulent business practice within the meaning of
                                                                    Business and Professions Code Section 17200, et seq.;
                                                 17
                                                            (9)     Whether Defendant’s conduct is an unlawful business practice within the meaning of
                                                 18                 Business and Professions Code Section 17200, et seq.;
                                                 19         (10)    Whether Defendant’s conduct constitutes breach of express warranty;
                                                 20         (11)    Whether Plaintiff and the Class are entitled to injunctive relief;
                                                 21         (12)    Whether Defendant was unjustly enriched by its unlawful conduct.
                                                 22   See FAC, ECF 16, ¶ 59.
                                                 23         These questions satisfy commonality. To be sure, an answer to these questions—for example,
                                                 24   whether Defendant’s Plant-Based & Mineral Representations are false, misleading, or deceptive—
                                                 25   will resolve “in one stroke” an issue that is central to the validity of each Class Member’s claim. An
                                                 26   affirmative answer to this question will demonstrate that the Products were falsely and unlawfully
                                                 27   labeled under California’s consumer protection laws. Likewise, an affirmative answer to the
                                                 28   seventh, eighth, and ninth questions—which focuses on Defendant’s conduct and whether its

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -12-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 20 of 31



                                                 1    labeling of the Products was unfair, unlawful or deceptive under the unfair competition law—will
                                                 2    conclusively demonstrate liability. Similarly, an affirmative answer to the tenth and twelfth
                                                 3    questions will establish Defendant’s liability for breach of warranty and unjust enrichment. Indeed,
                                                 4    an affirmative answer to the core questions of materiality, falsity, and class-wide exposure to the
                                                 5    Plant-Based & Mineral Representations can not only be demonstrated by class-wide, common
                                                 6    proof, but it will establish each element, of each cause action, to hold Defendant liable and issue the
                                                 7    requested injunctive and declaratory relief in this action. To be sure, “a common core of salient
                                                 8    facts” exists because all Class Members purchased the same Products, boldly displaying the same
                                                 9    Plant-Based & Mineral Representations on their exterior labels and packaging, which Defendant’s
                                                 10   formulations and admissions demonstrate are false and misleading, which market research and
                                                 11   Defendant’s admissions demonstrate reasonable consumers find material in deciding to buy the
                                                 12   Products, and from which courts presume the Class’s reliance to their detriment.
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13         Notably, the common questions will be resolved by application of the same facts because
                       Malibu, CA 90265




                                                 14   Plaintiff and Class Members all purchased Products bearing the same misrepresentations. Astiana,
                                                 15   291 F.R.D. at 501 (“Here, Plaintiffs have identified several legal and factual issues common to the
                                                 16   putative class’s claims, including whether the use of the term ‘Nothing Artificial’ to advertise food
                                                 17   products that contain the allegedly synthetic ingredients violates the UCL, FAL, CLRA, or
                                                 18   Defendant’s own warranties. By definition, all class members were exposed to such representations
                                                 19   and purchased Kashi products, creating a ‘common core of salient facts.’”); Hadley v. Kellogg Sales
                                                 20   Co., 324 F. Supp. 3d 1084, 1115 (N.D. Cal. 2018) (finding commonality where all class members
                                                 21   were exposed to the challenged labeling); Tran v. Sioux Honey Ass’n, Coop., No. 8:17-cv-00110-
                                                 22   JLS-SS, 2020 WL 905571, at *4 (C.D. Cal. Feb. 24, 2020) (“By definition, all class members were
                                                 23   exposed to such representations and purchased [Sioux] products, creating a ‘common core of salient
                                                 24   facts . . . ‘variation among class members in their motivation for purchasing the product [and] the
                                                 25   factual circumstances behind their purchase ... does not defeat the relatively ‘minimal’ showing
                                                 26   required to establish commonality.’”) (citations omitted); Guido v. L’Oreal, USA, Inc., 284 F.R.D.
                                                 27   468, 477 (C.D. Cal. 2012), on reconsideration, Nos. CV 11-1067 CAS (JCx), CV 11-5465 CAS
                                                 28   (JCx), 2012 WL 2458118 (C.D. Cal. June 25, 2012) (“Because [the product] was packaged and sold

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -13-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 21 of 31



                                                 1    uniformly across the nation, resolution of these questions will resolve ‘in one stroke’ issues that are
                                                 2    ‘central to the validity’ of each class member’s claims. . . . Defendants’ argument that commonality
                                                 3    is not satisfied because class members may have purchased [the product] for a variety of reasons is
                                                 4    unpersuasive.” (citation omitted)); Testone, 2021 WL 4438391, at *8 (“Plaintiffs assert that there
                                                 5    are common questions here, such as what the at-issue label statements would mean to a reasonable
                                                 6    consumer and whether they would be deceptive to a reasonable consumer. In prior mislabeling cases
                                                 7    such as this, courts have found the commonality requirement satisfied ‘because [the litigation] raises
                                                 8    the common question of whether the packaging would mislead a reasonable consumer.’”) (citations
                                                 9    omitted).
                                                 10          Further, “courts have repeatedly recognized that ‘[w]here the alleged misrepresentation
                                                 11   appears on the label or packaging of each item being sold, class-wide exposure to it may be
                                                 12   inferred.’” Hadley, 324 F. Supp. at 1099 (citing Zakaria v. Gerber, No. LA CV15-00200 JAK (Ex),
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   2016 WL 6662723, at *8 (N.D. Cal. Mar. 23, 2016) (finding certification appropriate even where
                       Malibu, CA 90265




                                                 14   the defendant asserted certain class members would not have seen the challenged statement); Ehret
                                                 15   v. Uber Techs., Inc., 148 F.Supp.3d 884, 895 (N.D. Cal. 2015) (“On the other hand, in numerous
                                                 16   cases involving claims of false-advertising, class-wide exposure has been inferred because the
                                                 17   alleged misrepresentation is on the packaging of the item being sold.”).
                                                 18          Materiality, class-wide exposure, and conduct consistent with reliance (i.e., the purchase)
                                                 19   present class-wide proof of reliance in this case. Courts generally consider claims under UCL, FAL,
                                                 20   and CLRA together. In re ConAgra Foods, Inc., 90 F. Supp. 3d 919, 982-983 (C.D. Cal. 2015) (citing
                                                 21   Forcellati, 2014 WL 1410264, at *9). “Each statute allows plaintiffs to establish materiality and
                                                 22   reliance (i.e., causation and injury) by showing that a reasonable person would have considered the
                                                 23   defendant’s representation material.” Id. at 983 (citations omitted); Massachusetts Mutual Life Ins. Co.
                                                 24   v. Sup. Ct., 97 Cal.App.4th 1282, 1288 (2002) (“California courts have repeatedly held that relief under
                                                 25   the UCL is available without individualized proof of deception, reliance and injury”). The standard
                                                 26   “does not require that class members have a uniform understanding of the meaning of” the challenged
                                                 27   representation. Pettit v. Procter & Gamble Co., No. 15-cv-02150-RS, 2017 WL 3310692, *3 (N.D.
                                                 28   Cal. Aug. 3, 2017); Stearns v. Ticketmaster Corp., 655 F.3d 1013, 1022 (9th Cir. 2011) (“‘[c]ausation,

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -14-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 22 of 31



                                                 1    on a classwide basis, may be established by materiality. If the trial court finds the material
                                                 2    misrepresentation have been made to the entire class, an inference of reliance arises as to the class.’”)
                                                 3    (quoting In re Vioxx Class Cases, 180 Cal.App.4th 116, 129 (2009)). “As a general rule, materiality
                                                 4    may be established by common proof ‘[b]ecause materiality is judged according to an objective
                                                 5    standard,’ and so ‘[t]he alleged misrepresentations and omissions, whether material or immaterial,
                                                 6    would be so equally for all [consumers] composing the class.’” Mullins v. Premier Nutrition Corp.,
                                                 7    No. 13-cv-1271-RS, 2016 WL 1535057, at *5 (N.D. Cal. Apr. 15, 2016) (quoting Amgen Inc., 568 U.S.
                                                 8    at 459-460). While a plaintiff asserting a claim under the CLRA must demonstrate individualized
                                                 9    reliance (see Maisel Decl. ¶ 5), courts do not require the same individualized showing for each member
                                                 10   of the class. Lewis v. Robinson Ford Sales, Inc., 156 Cal.App.4th 359, 368 (2007); In re Tobacco II
                                                 11   Cases, 46 Cal.4th 298, 326 (2009) (“[A] presumption, or at least an inference, of reliance arises
                                                 12   wherever there is a showing that a misrepresentation was material” only to named plaintiffs, and
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   not to all class members. Thus, only a named plaintiff is required to show that “the defendant’s
                       Malibu, CA 90265




                                                 14   misrepresentation is an ‘immediate cause’ of the plaintiff’s conduct.”).
                                                 15          In a class action, an inference of justifiable reliance arises as to the entire class if they were
                                                 16   exposed to material misrepresentations and acted consistent with one who relied on those
                                                 17   representations. See Vasquez v. Superior Court, 4 Cal.3d 800, 814 (1971) (“The fact of reliance upon
                                                 18   alleged false representations may be inferred from the circumstances attending the transaction which
                                                 19   oftentimes afford much stronger and more satisfactory evidence of the inducement which prompted
                                                 20   the party defrauded to enter into the contract than his direct testimony to the same effect”) (quoting
                                                 21   Hunter v. McKenzie, 197 Cal.176, 185 (1925)) (citing Gormly v. Dickinson, 178 Cal.App.2d 92, 105
                                                 22   (1960); Thomas v. Hawkins, 96 Cal.App.2d 377, 380 (1950)); Mathewson v. Naylor, 18 Cal.App.2d
                                                 23   741, 744 (1937); Bank of St. Helena v. Lilenthal-Brayton Co., 89 Cal.App.258, 262 (1928); 12 Williston
                                                 24   on Contracts 480 (3d ed. 1970)); Occidental Land, Inc. v. Superior Court, 18 Cal.3d 355, 363 (1976)
                                                 25   (an inference of reliance arises if material misrepresentations were “made to persons whose acts
                                                 26   thereafter were consistent with reliance upon the representation.”); In re Nat’l Western Life Ins.
                                                 27   Deferred Annuities Litig., 268 F.R.D. 652, 663-666 (S.D. Cal. 2010) (certifying nationwide class under
                                                 28   a fraud-based theory, finding inference of causation or reliance based on uniform material

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -15-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 23 of 31



                                                 1    misrepresentations: “[c]onsumers are nearly certain to rely on prominent (and prominently marketed)
                                                 2    features of a product which they purchase,” despite varying individualized circumstances that may have
                                                 3    contributed to each class member’s decision to purchase the products, reasoning “reliance can be shown
                                                 4    where it provides the ‘common sense’ or ‘logical explanation’ for the behavior of plaintiffs and the
                                                 5    members of the class.”) (quoting Negrete v. Allianz Life Ins. Co. of North America, 238 F.R.D. 482,
                                                 6    491-492 (C.D. Cal. 2006); citing Poulos v. Ceasars World, Inc., 379 F.3d 654, 667-668 (9th Cir.
                                                 7    2004)); In re Arris Cable Modem Consumer Litig., 327 F.R.D. 334, 349 (N.D. Cal. 2018) (“[w]here
                                                 8    plaintiffs are ‘deceived by misrepresentations into making a purchase, the economic harm is the same:
                                                 9    the consumer has purchased a product that he or she paid more for than he or she otherwise might have
                                                 10   been willing to pay if the product had been labeled accurately.’” Pulaski & Middleman, LLC v. Google,
                                                 11   Inc., 802 F.3d 979, 989 (9th Cir. 2015) (quoting Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 329
                                                 12   (2011).
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13                 3.      Typicality
                       Malibu, CA 90265




                                                 14         The requirements of typicality and commonality are considered together because they “tend
                                                 15   to merge” and “serve as guideposts for determining whether . . . the named plaintiff’s claim and the
                                                 16   class claims are so inter-related that the interests of the class members will be fairly and adequately
                                                 17   protected in their absence.” General Tel. Co. v. Falcon, 457 U.S. 147, 157, n.13 (1982).
                                                 18         The typicality requirement is met when the claims or defenses of the representative party are
                                                 19   typical of those of the class. Fed. R. Civ. P. 23(a)(3). “[T]he claims of the class representatives [are]
                                                 20   typical of those of the class, and [typicality is] ‘satisfied when each class member’s claim arises
                                                 21   from the same course of events, and each class member makes similar legal arguments to prove the
                                                 22   defendant’s liability.’” Armstrong v. Davis, 275 F.3d 849, 868 (9th Cir. 2001), abrogated on other
                                                 23   grounds (citation omitted). “Like the commonality requirement, the typicality requirement is
                                                 24   ‘permissive’ and requires only that the representative’s claims are ‘reasonably co-extensive’ with
                                                 25   those of absent class members; they need not be substantially identical.” Hanlon, 150 F.3d at 1020,
                                                 26   overruled on other grounds by Wal-Mart Stores, Inc., 564 U.S. at 338. Typicality is established
                                                 27   where the class was injured through an alleged common practice. Id. The plaintiff need only show
                                                 28   that the defendant made a misrepresentation or engaged in an unfair practice that was typical across

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -16-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 24 of 31



                                                 1    the class, and that the plaintiff and class members were injured. Astiana, 291 F.R.D. at 502.
                                                 2    (“Defendant argues that the differences in Plaintiffs’ perceptions and knowledge about Kashi
                                                 3    products, as well as differences in their preferences and reasons for purchasing Kashi products,
                                                 4    render them atypical of the proposed classes. ‘In determining whether typicality is met, the focus
                                                 5    should be ‘on the defendants’ conduct and the plaintiffs’ legal theory,’ not the injury caused to the
                                                 6    plaintiff’”).
                                                 7          Typicality, like commonality, is satisfied because Plaintiff and Class Members all purchased
                                                 8    Products bearing the same material and deceptive Plant-Based & Mineral Representations. See Ex.
                                                 9    A [Labels]. Indeed, Plaintiff has submitted an affidavit confirming that she not only bought one of
                                                 10   the Products, but she did so because she read and relied on the Plant-Based & Mineral
                                                 11   Representation contained on the front label, believing that the Product only contained natural
                                                 12   ingredients. Maisel Decl. ¶ 5. The representation was important to her in deciding to buy the
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   Product. Id. Had she known the truth, she would not have purchased the Product. Id. No more is
                       Malibu, CA 90265




                                                 14   required. See Johns v. Bayer Corp., 280 F.R.D. 551, 557 (S.D. Cal. 2012) (“Plaintiffs and class
                                                 15   members thus were all exposed to the same alleged misrepresentations on the packages and
                                                 16   advertisements. The Court therefore finds that Plaintiffs have satisfied both the typicality and
                                                 17   adequacy requirements.”); Martin v. Monsanto Co., No. ED CV 16-2168-JFW (SPx), 2017 WL
                                                 18   1115167, at *4 (C.D. Cal. Mar. 24, 2017). “In determining whether typicality is met, the focus
                                                 19   should be ‘on the defendants’ conduct and the plaintiffs’ legal theory,’ not the injury caused to the
                                                 20   plaintiff.” Astiana, 291 F.R.D. at 502 (citing Simpson v. Fireman’s Fund Ins. Co., 231 F.R.D. 391,
                                                 21   396 (N.D. Cal. 2005)); Lilly, 308 F.R.D. at 240 (“Plaintiffs . . . clearly have a similar alleged injury
                                                 22   as the rest of the proposed class, since they purchased products that are the same as, or very similar
                                                 23   to, the products challenged by the rest of the proposed class.”); Bruno v. Quten Research Inst., LLC,
                                                 24   280 F.R.D. 524, 534 (C.D. Cal. 2011) (finding typicality based on the purchase of a misrepresented
                                                 25   product and that “a plaintiffs’ individual experience with the product is irrelevant where, as here,
                                                 26   the injury under the UCL, FAL, and CLRA is established by an objective test.”); Hilsley, 2018 WL
                                                 27   6300479, at *6 (“Here, Plaintiff has demonstrated that her claims are typical as the Complaint
                                                 28   alleges that she and all class members purchased the Products, were deceived by the false and

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -17-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 25 of 31



                                                 1    deceptive labeling and lost money as a result. All class members were exposed to the same omission
                                                 2    and affirmative misrepresentation on the labels of the Products. Therefore, the Court concludes that
                                                 3    Plaintiff has established that her claims and injuries are typical of the claims and injuries of the
                                                 4    class.” (citations omitted)). Accordingly, typicality is satisfied.
                                                 5                  4.      Adequate Representation
                                                 6          Adequacy requires that “the representative parties will fairly and adequately protect the
                                                 7    interests of the class.” Fed. R. Civ. P. 23(a)(4). The Ninth Circuit has articulated two criteria for
                                                 8    determining legal adequacy: (1) whether the named plaintiffs and their counsel have any conflicts
                                                 9    of interest with other class members; and (2) whether the named plaintiffs and their counsel will
                                                 10   prosecute the action vigorously on behalf of the class. See Hanlon, 150 F.3d at 1020; Ellis v. Costco
                                                 11   Wholesale Corp., 657 F.3d 970, 985 (9th Cir. 2011). In answering the second question of adequacy,
                                                 12   “[t]he relevant inquiry is whether the plaintiffs maintain a sufficient interest in, and nexus with, the
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   class so as to ensure vigorous representation. Resnick v. Frank (In re Online DVD-Rental Antitrust
                       Malibu, CA 90265




                                                 14   Litig.), 779 F.3d 934, 943 (9th Cir. 2015) (quoting Roper v. Consurve, Inc., 578 F.2d 1106, 1112
                                                 15   (5th Cir. 1978) (alteration in Resnick). Both of these criteria favor certification in this case.
                                                 16         First, Plaintiff’s “interests in proving [Defendants’] alleged misrepresentation[s] align with
                                                 17   those of other class members.” Hartless v. Clorox Co., 273 F.R.D. 630, 638 (S.D. Cal. 2011), aff’d
                                                 18   in part, 473 F. App’x 716 (9th Cir. 2012) (“Each potential class member has the same issue: an
                                                 19   allegedly false representation on CATBC packaging and damages in the form of the purchase price
                                                 20   or consequent property damage.”); Astiana, 291 F.R.D. at 503 (“Plaintiff Larsen and the class were
                                                 21   exposed to the same alleged misrepresentation on Kashi product labels, and she testified that she
                                                 22   would have either paid less or purchased other products had she not been deceived. Plaintiff Larsen's
                                                 23   interests are therefore coextensive with the proposed class.”). Here, Plaintiff’s interests clearly align
                                                 24   with the Class. She bought the Product in reliance on the Plant-Based & Mineral Representation to
                                                 25   her detriment. Maisel Decl. ¶ 5. Further, she has no discernable interest in conflict with the Class’s
                                                 26   interest in honest and transparent labels on the Products. Id.
                                                 27         Second, Plaintiff and her counsel have advocated vigorously on behalf of the Class and will
                                                 28   continue to do so. Plaintiff has stepped forward to challenge Defendant’s conduct and has

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -18-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 26 of 31



                                                 1    participated in this litigation. She has expended considerable time supervising this litigation and
                                                 2    participating in its investigation, exposed herself to the risks of litigation, and done so without any
                                                 3    guarantee of compensation. Maisel Decl. ¶ 3-4. In addition, Plaintiff has retained counsel that are
                                                 4    experienced in prosecuting consumer class actions, including class actions based on mislabeled
                                                 5    products. The resumes of Plaintiff’s counsel set forth a representative sampling of appointments and
                                                 6    complex prosecutions over the combined course of more than a quarter century. Ex. K [Clarkson
                                                 7    Resume]; Ex. L [Moon Resume]. They have vigorously protected the interests of the Class, and
                                                 8    litigated this action efficiently and effectively, prevailing on an omnibus motion to dismiss the
                                                 9    operative complaint. See, e.g., Order Deny MTD, ECF 29. They have also efficiently and effectively
                                                 10   gathered the class-wide proof necessary to certify this action as a class through discovery, analysis
                                                 11   of substantial and highly technical documents, and a robust investigation and review of Defendant’s
                                                 12   historic and current websites, as demonstrated above.
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13         C.     Plaintiff Satisfies the Requirements of Rule 23(b)(2)
                       Malibu, CA 90265




                                                 14         Under Rule 23(b)(2), “[a] class action may be maintained if Rule 23(a) is satisfied and if . . .
                                                 15   the party opposing the class has acted or refused to act on grounds that apply generally to the class,
                                                 16   so that final injunctive relief or corresponding declaratory relief is appropriate respecting the class
                                                 17   as a whole.” Fed. R. Civ. P. 23(b)(2). Plaintiff easily meets this standard.
                                                 18                 1.      Plaintiff Has Article III Standing.
                                                 19          “[S]tanding requires that (1) the plaintiff suffered an injury in fact. . . (2) the injury is fairly
                                                 20   traceable to the challenged conduct, and (3) the injury is likely to be redressed by a favorable
                                                 21   decision.” Mazza v. Am. Honda Motor Co., 666 F.3d 581, 594-95 (9th Cir. 2012) (quoting Bates v.
                                                 22   United Parcel Serv., Inc., 511 F.3d 974, 985 (9th Cir. 2007)). Under the Ninth Circuit’s decision in
                                                 23   Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 972 (9th Cir. 2018) and its progeny, Plaintiff has
                                                 24   standing to seek injunctive relief.
                                                 25          In Davidson, the Ninth Circuit provided two non-exclusive examples of how a previously
                                                 26   deceived plaintiff could establish standing to seek injunctive relief in a false advertising case.
                                                 27         We hold that a previously deceived consumer may have standing to seek an injunction
                                                            against false advertising or labeling, even though the consumer now knows or suspects
                                                 28         that the advertising was false at the time of the original purchase, because the consumer
                                                            may suffer an “actual and imminent, not conjectural or hypothetical” threat of future
                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -19-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                          Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 27 of 31



                                                             harm. Summers [v. Earth Island Inst.], 555 U.S. [488, 493 (2009)]. Knowledge that the
                                                 1           advertisement or label was false in the past does not equate to knowledge that it will
                                                             remain false in the future. In some cases, the threat of future harm may be
                                                 2           the consumer's plausible allegations that she will be unable to rely on the product's
                                                             advertising or labeling in the future, and so will not purchase the product although she
                                                 3           would like to. See, e.g., Ries, 287 F.R.D. at 533; Lilly . . . , 2015 WL 1248027, at *4 . .
                                                             . (“[U]nless the manufacturer or seller has been enjoined from making the same
                                                 4           representation, [the] consumer ... won't know whether it makes sense to spend her
                                                             money on the product.”). In other cases, the threat of future harm may be the
                                                 5           consumer’s plausible allegations that she might purchase the product in the future,
                                                             despite the fact it was once marred by false advertising or labeling, as she may
                                                 6           reasonably, but incorrectly, assume the product was improved. See, e.g., L'Oreal, 991
                                                             F.Supp.2d at 194-95.
                                                 7
                                                 8    Id. at 969-70. 9
                                                 9            This case mirrors Davidson. Here, Plaintiff stated:
                                                 10          I continue to see many of the ecover brand cleaning products, including the
                                                             [Dishwasher Tablets], available for purchase with the same or nearly identical Plant-
                                                 11          Based & Mineral Representations. I want to, again, purchase ecover brand cleaning
                                                             products with those representations on the front of the labels, including the [Dishwasher
                                                 12          Tablets], even though I have to come to believe that, back in 2020, when I bought the
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                             Product, it was falsely and misleadingly labeled as being made “[w]ith plant-based and
                                                 13
                       Malibu, CA 90265




                                                             mineral ingredients.” I do not know whether Defendant changed the formulation or its
                                                             manufacturing processes. Nor do I know all of the ingredients in the ecover brand
                                                 14          cleaning products, including the [Dishwasher Tablets]. Similarly, I do not know
                                                             whether all of the products’ ingredients come from plants, minerals, or were
                                                 15          substantially processed. Unfortunately, I cannot rely on the truth of the Plant-Based &
                                                             Mineral Representations. That is because I am not sophisticated in the chemistry,
                                                 16          manufacturing, and formulation of cleaning products, and I do not know the meaning
                                                             or the import of all of the ingredients listed on any back-label disclosures. However, if
                                                 17          I could rely upon the truthfulness of those representations, I would continue to buy
                                                             ecover brand cleaning products, including the [Dishwasher Tablets], that contain the
                                                 18          Plant-Based & Mineral Representations on their labels.
                                                 19   Maisel Decl. ¶ 6. Under Davidson, no more is required to confer Article III standing for injunctive
                                                 20   relief. See 889 F.3d at 969-70; see also Order Deny MTD, ECF 29 § IV. (“Maisel further alleges
                                                 21   she ‘continues to see the Products available for purchase and desires to purchase them again if the
                                                 22   Plant-Based Representations were in fact true,’ but she ‘is, and continues to be, unable to rely on
                                                 23
                                                      9
                                                        See also Maisel v. S.C. Johnson & Son, Inc., No. 21-CV-00413-TSH, 2021 WL 1788397, at *6
                                                 24   (N.D. Cal. May 5, 2021) (Hixson, J.) (“In the Ninth Circuit, ‘a previously deceived consumer may
                                                      have standing to seek an injunction against false advertising or labeling, even though the consumer
                                                 25   now knows or suspects that the advertising was false at the time of the original purchase, because
                                                      the consumer may suffer an ‘actual and imminent, not conjectural or hypothetical’ threat of future
                                                 26   harm.’ Id. at 969 (quoting Summers . . . , 555 U.S. [at] 493 . . . ). This harm may be demonstrated
                                                      in two ways: (1) ‘the consumer's plausible allegations that she will be unable to rely on the product's
                                                 27   advertising or labeling in the future, and so will not purchase the product although she would like
                                                      to,’ or (2) ‘the consumer's plausible allegations that she might purchase the product in the future,
                                                 28   despite the fact it was once marred by false advertising or labeling, as she may reasonably, but
                                                      incorrectly, assume the product was improved.’ Id. at 969-70.”).
                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -20-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 28 of 31



                                                 1    the truth of the Products’ Plant-Based Representations.’ Id. ¶ 8. These allegations closely mirror
                                                 2    the Davidson plaintiff’s.”); Snarr v. Cento Fine Foods Inc., No. 19-cv-02627-HSG, 2019 WL
                                                 3    7050149, at *6 (N.D. Cal. Dec. 23, 2019) (“Plaintiffs additionally allege that ‘if [he or she] could
                                                 4    rely upon the truthfulness of Defendant’s labeling, [he or she] would continue to purchase the
                                                 5    Products in the future.’ The Court finds that these allegations meet the requirements of Davidson.
                                                 6    Plaintiffs establish threat of future harm by alleging that they would purchase the Products in the
                                                 7    future only if they could rely on Defendant’s labeling, whether the ‘Certified’ mark was
                                                 8    substantiated as D.O.P. certification or if it was removed. This sufficiently alleges the first example
                                                 9    of future harm noted in Davidson—Plaintiffs will not purchase the Products until they can rely on
                                                 10   the Products’ representations.”) (citations omitted).
                                                 11                 2.     Plaintiff and the Class Complain of Standardized Uniform Conduct
                                                 12                        Applicable to the Entire Class.
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13           For a Rule 23(b)(2) class to be certified, it is sufficient if class members complain of a
                       Malibu, CA 90265




                                                 14   practice that is generally applicable to the class as a whole. See Fed. R. Civ. Proc. 23(b)(2)
                                                 15   (certification under Rule 23(b)(2) is appropriate where a defendant has acted on “grounds that apply
                                                 16   generally to the class, so that final injunctive relief or corresponding declaratory relief is appropriate
                                                 17   respecting the class as a whole.”); see also Walters, 145 F.3d at 1047; Charles Alan Wright, et al.,
                                                 18   Fed. Prac. & Proc. § 1775 (3d ed. 2011) (“All the Class members need not be aggrieved by or desire
                                                 19   to challenge the defendant’s conduct in order for some of them to seek relief under Rule 23(b)(2).”);
                                                 20   Mueller v. Puritan’s Pride, Inc., No. 3:16-cv-06717-JD, 2021 WL 5494254, at *8 (N.D. Cal. Nov.
                                                 21   23, 2021) (“For Rule 23(b)(2), the Court is not required ‘to examine the viability or bases of class
                                                 22   members’ claims for declaratory and injunctive relief, but only to look at whether class members
                                                 23   seek uniform relief from a practice applicable to all of them.’ Rodriguez v. Hayes, 591 F.3d 1105,
                                                 24   1125 (9th Cir. 2010). ‘It is sufficient to meet the requirements of Rule 23(b)(2) that class members
                                                 25   complain of a pattern or practice that is generally applicable to the class as a
                                                 26   whole.’ Id. (quoting Walters, 145 F.3d at 1047) (internal quotations omitted).”). As discussed
                                                 27   herein, Plaintiff and Class members complain of standard and uniform practices in the form of
                                                 28

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -21-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 29 of 31



                                                 1    unfair, unlawful, and deceptive conduct by Defendant that is generally applicable to the Class as a
                                                 2    whole.
                                                 3                  3.    Plaintiff Seeks Injunctive Relief that Would Benefit Each Class Member.
                                                 4             “Rule 23(b)(2) applies only when a single injunction or declaratory judgment would provide
                                                 5    relief to each member of the class.” Wal-Mart Stores, Inc., 564 U.S. at 341; accord Cruz v.
                                                 6    PacifiCare Health Systems, Inc., 30 Cal.4th 303, 315-16 (2003) (statutory remedies available for a
                                                 7    violation of the CLRA, UCL, and FAL include public injunctive relief whose primary purpose and
                                                 8    effect is prohibiting unlawful acts that threaten future injury to the general public.); Delarosa v.
                                                 9    Boiron, Inc., 275 F.R.D. 582, 591-92 (C.D. Cal. 2011).
                                                 10            Plaintiff seeks injunctive relief prohibiting Defendant from continuing to engage in
                                                 11   deceptive, misleading, unlawful, unfair practices, by removing the Plant-Based & Mineral
                                                 12   Representations from the Products. Such equitable relief will benefit every class member by
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   preventing future consumer deception. See Mier v. CVS Pharmacy, Inc., No. SA CV 20-1979-
                       Malibu, CA 90265




                                                 14   DOC-(ADSx), 2021 WL 3468951, at *7 (C.D. Cal. Apr. 29, 2021), reconsideration denied, No. SA
                                                 15   CV 20-01979-DOC-(ADS), 2021 WL 3468953 (C.D. Cal. June 11, 2021) (“Here, the injunctive
                                                 16   relief that Plaintiff seeks requires Defendants to remove misleading statements from its Product.
                                                 17   This case exemplifies the kind of action that may be appropriate for certification under Rule
                                                 18   23(b)(2), ‘at least insofar as plaintiffs request: (1) declaratory relief that the alleged practices are
                                                 19   unlawful, and (2) injunctive relief prohibiting defendants from continuing them.’ Ries . . . , 287
                                                 20   F.R.D. [at] 541 . . . (citations omitted). Those requests can be satisfied with “indivisible” equitable
                                                 21   relief that benefits all class members at once, as the Rule suggests. Id.”); Smith v. Keurig Green
                                                 22   Mountain, Inc., No. 18-cv-06690-HSG, 2020 WL 5630051, at *11 (N.D. Cal. Sept. 21, 2020)
                                                 23   (“Plaintiff alleges that the Products are not recyclable in a substantial majority of communities in
                                                 24   which they are sold such that Keurig's representation is misleading. The proposed injunctive relief—
                                                 25   an order to enjoin Keurig from advertising their products as recyclable—may be granted and provide
                                                 26   relief for all proposed class members. Plaintiff thus satisfies the requirements of Rule 23(b)(2).”).
                                                 27   Accordingly, injunctive relief is necessary to prevent future harm to consumers who purchase the
                                                 28   Products and to prevent Defendant from selling its deceptively packaged Products with impunity.

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -22-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                           Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 30 of 31



                                                 1            D.     Rule 23(G) is Satisfied
                                                 2           “Unless a statute provides otherwise, a court that certifies a class must appoint class counsel.”
                                                 3    Fed. R. Civ. P. 23(g)(1)(A). In evaluating the adequacy of counsel, the Court examines the following
                                                 4    factors: (1) “the work counsel has done in identifying or investigating potential claims in the action”;
                                                 5    (2) “counsel’s experience in handling class actions”; (3) “counsel’s knowledge of the applicable
                                                 6    law”; and (4) “the resources counsel will commit to represent the class[.]” Id.
                                                 7           Plaintiff’s counsel have and will continue to “fairly and adequately represent the interests of
                                                 8    the class.” Fed. R. Civ. P. 23(g)(4). Plaintiff’s counsel has performed substantial work to date
                                                 9    litigating Plaintiff’s claims against Defendant. Bruce Decl. ¶ 3-4. Plaintiff’s counsel has invested
                                                 10   hundreds of hours prosecuting claims on behalf of Plaintiff and the Class, including defeating
                                                 11   Defendant’s motion to dismiss the FAC. Order Denying MTD, ECF 29. Moreover, Plaintiff’s
                                                 12   counsel possess extensive experience in prosecuting complex class actions, including in consumer
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13   false advertising actions such as this case. See Ex. K [Clarkson Resume]; Ex. L [Moon Resume].
                       Malibu, CA 90265




                                                 14   As evidenced by the fact that counsel has already devoted substantial time and effort to the
                                                 15   prosecution of this proceeding, there can be no doubt that Plaintiff’s counsel will continue to devote
                                                 16   the resources necessary to representing the Class following appointment as Class Counsel. As such
                                                 17   Plaintiff requests that the Court appoint Clarkson Law Firm, P.C. and Moon Law APC as class
                                                 18   counsel.
                                                 19   V.      CONCLUSION
                                                 20          Based on the forgoing, Plaintiff respectfully requests that the Court grant her Motion for Class
                                                 21   Certification, appoint her as the representative of the Classes pursuant to Fed. R. Civ. P. 23(a) and
                                                 22   23(b), and appoint her counsel as counsel for the Classes pursuant to Rule 23(g).
                                                 23
                                                      Date: December 20, 2021                               CLARKSON LAW FIRM, P.C.
                                                 24
                                                 25                                                         By: /s/ Katherine A. Bruce
                                                                                                                  Ryan J. Clarkson, Esq.
                                                 26                                                               Shireen M. Clarkson, Esq.
                                                                                                                  Katherine A. Bruce, Esq.
                                                 27                                                               Kelsey J. Elling, Esq.
                                                 28   ///

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -23-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
                                                        Case 3:21-cv-00413-TSH Document 39-1 Filed 12/20/21 Page 31 of 31



                                                 1                                                MOON LAW, APC
                                                 2
                                                                                                  By: /s/ Kevin O. Moon
                                                 3                                                      Christopher D. Moon, Esq.
                                                                                                        Kevin O. Moon, Esq.
                                                 4
                                                                                                  Attorneys for Plaintiff Elizabeth Maisel
                                                 5
                                                 6
                                                 7
                                                 8
                                                 9
                                                 10
                                                 11
                                                 12
                   22525 Pacific Coast Highway
CLARKSON LAW FIRM, P.C.




                                                 13
                       Malibu, CA 90265




                                                 14
                                                 15
                                                 16
                                                 17
                                                 18
                                                 19
                                                 20
                                                 21
                                                 22
                                                 23
                                                 24
                                                 25
                                                 26
                                                 27
                                                 28

                                                      N.D. Cal. Case No. 3:21-cv-00413-TSH     -24-
                                                          PLAINTIFF’S MOTION FOR CLASS CERTIFICATION - MEMORANDUM OF POINTS & AUTHORITIES
